                   Case 2:20-cv-00680-DGE Document 103 Filed 03/08/22 Page 1 of 7




 1                                                     THE HONORABLE DAVID G. ESTUDILLO
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9    TOMMY BROWN, on his own behalf and on                  No. 2:20-cv-00680-DGE
      behalf of other similarly situated persons,
10                                                           STIPULATED MOTION AND
                              Plaintiff,                     ORDER TO SET CASE SCHEDULE
11                                                           FOR PLAINTIFF’S AMENDED
                                                             COMPLAINT AND DEFENDANTS’
12             v.                                            RESPONSES THERETO

13    TRANSWORLD SYSTEMS, INC., et al.,                      NOTE ON MOTION CALENDAR:

14                                                           Thursday, March 3, 2022
                             Defendants.
15

16
              Pursuant to Western District of Washington Local Civil Rules 7(d)(1) and 10(g), and in a
17
     cooperative effort to comply with this Court’s February 14, 2022 directive to file a Joint Status
18
     Report, and after meeting and conferring, Plaintiff Tommy Brown (“Plaintiff”) and Defendants
19
     Transworld Systems Inc. (“TSI”), Patenaude & Felix, APC (“P&F”), U.S. Bank National
20
     Association (“U.S. Bank”), National Collegiate Student Loan Trust 2004-1, National Collegiate
21
     Student Loan Trust 2004-2, National Collegiate Student Loan Trust 2005-1, National Collegiate
22
     Student Loan Trust 2005-2, National Collegiate Student Loan Trust 2005-3, National Collegiate
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     Student Loan Trust 2006-1, National Collegiate Student Loan Trust 2006-2, National Collegiate
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     Student Loan Trust 2007-1, and National Collegiate Student Loan Trust 2007-2 (collectively,
25
     “the Trusts,” and together with TSI, P&F, and U.S. Bank, “Defendants”), hereby stipulate and
26

      STIPULATED MOTION AND ORDER TO SET CASE                                  Perkins Coie LLP
      SCHEDULE FOR PLAINTIFF’S AMENDED COMPLAINT                        1201 Third Avenue, Suite 4900
                                                                        Seattle, Washington 98101-3099
      AND DEFENDANTS’ RESPONSES THERETO (NO. 2:20-                            Phone: 206.359.8000
      CV-00680-DGE) – 1                                                        Fax: 206.359.9000
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 1   agree to the following schedule based on Plaintiff’s representation that he is filing an Amended

 2   Complaint in response to Defendants’ pending Motions to Dismiss:

 3

 4       Event                                                  Deadline
 5       Plaintiff’s Amended Complaint                          Tuesday March 22, 2022
 6       Defendants’ Response to Plaintiff’s Amended            Tuesday, April 26, 2022
 7       Complaint (with any responsive Motions to
 8       Dismiss to be noted for hearing on June 17,
 9       2022
10       Plaintiff’s Opposition(s) to Defendants’               Tuesday, May 31, 2022
11       Motions to Dismiss
12       Defendants’ Replies in Support of Motions to           Tuesday, June 14, 2022
13       Dismiss
14               Plaintiff and Defendants further stipulate and agree to stay any other pending deadlines
15   until after the Court issues rulings on Defendants’ Motions to Dismiss Plaintiff’s Amended
16   Complaint.1 Plaintiff and Defendants have further agreed that if the Court denies any
17   defendant’s Motion to Dismiss Plaintiff’s Amended Complaint in whole or in part, and taking
18   into account the Court’s Ruling:
19               1.     Any remaining parties agree to hold the Fed. R. Civ. P. 26(f) Conference within
20                      14 days after the Court has issued rulings on all of Defendants’ Motions to
21                      Dismiss the Amended Complaint;
22               2.     The deadline for Initial Disclosures shall be fourteen days after the parties’ Fed.
23                      R. Civ. P. 26(f) Conference; and
24

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     1
26    This agreed stay includes but is not limited to any deadline Transworld Systems Inc. may have to file or supplement
     any motion to dismiss Plaintiff’s original Complaint in accordance with its Notice of Joinder (Dkt. No. 100).

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         AND DEFENDANTS’ RESPONSES THERETO (NO. 2:20-                                     Phone: 206.359.8000
         CV-00680-DGE) – 2                                                                 Fax: 206.359.9000
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 1            3.       The parties shall file the Joint Status Report and Discovery Plan fourteen days

 2                     after the Initial Disclosures are due.

 3            The parties have entered this stipulation to mutually cooperate in the management of this

 4   action and for the purpose of maximizing judicial economy and conserving the parties’

 5   resources. The extension of the above deadlines does not alter or modify any other rights or

 6   responsibilities of the parties except as stated herein permitted by law or under the Federal Rules

 7   of Civil Procedure, or the Local Civil Rules.

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 9            DATED: March 3, 2022.

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      STIPULATED MOTION AND ORDER TO SET CASE                                    Perkins Coie LLP
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      AND DEFENDANTS’ RESPONSES THERETO (NO. 2:20-                              Phone: 206.359.8000
      CV-00680-DGE) – 3                                                          Fax: 206.359.9000
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 1
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     Attorneys for Transworld Systems Inc.
22

23

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      STIPULATED MOTION AND ORDER TO SET CASE                             Perkins Coie LLP
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      SCHEDULE FOR PLAINTIFF’S AMENDED COMPLAINT                   Seattle, Washington 98101-3099
      AND DEFENDANTS’ RESPONSES THERETO (NO. 2:20-                       Phone: 206.359.8000
      CV-00680-DGE) – 4                                                   Fax: 206.359.9000
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 1   PERKINS COIE LLP                             LEE SMART, P.S., INC.
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 6   Attorneys for Defendants U.S. Bank National Attorneys for Patenaude & Felix, APC
     Association, National Collegiate Student Loan
 7   Trust 2004-1, National Collegiate Student
     Loan Trust 2004-2, National Collegiate
 8   Student Loan Trust 2005-1, National
     Collegiate Student Loan Trust 2005-2,
 9   National Collegiate Student Loan Trust 2005-
     3, National Collegiate Student Loan Trust
10   2006-1, National Collegiate Student Loan
     Trust 2006-2, National Collegiate Student
11   Loan Trust 2007-1, National Collegiate
     Student Loan Trust 2007-2
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      STIPULATED MOTION AND ORDER TO SET CASE                           Perkins Coie LLP
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      AND DEFENDANTS’ RESPONSES THERETO (NO. 2:20-                     Phone: 206.359.8000
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 1
                                                     ORDER
 2
              IT IS SO ORDERED:
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              The stay entered in this case by Order dated June 24, 2020 has been lifted. Based on the
 4
     parties’ representations, the schedule for Plaintiff’s Amended Complaint and Defendants’
 5
     response thereto is as follows:
 6

 7
      Event                                                Deadline
 8
      Plaintiff’s Amended Complaint                        Tuesday March 22, 2022
 9
      Defendants’ Response to Plaintiff’s Amended          Tuesday, April 26, 2022
10
      Complaint (with any responsive Motions to
11
      Dismiss to be noted for hearing on June 17,
12
      2022
13
      Plaintiff’s Opposition(s) to Defendants’             Tuesday, May 31, 2022
14
      Motions to Dismiss
15
      Defendants’ Replies in Support of Motions to         Tuesday, June 14, 2022
16
      Dismiss
17

18            All pending deadlines are stayed until after the Court rules on the Defendants’ Motions to
19   Dismiss Plaintiff’s Amended Complaint. If the Court denies any defendant’s Motion to Dismiss
20   Plaintiff’s Amended Complaint in whole or in part, and taking into account the Court’s Ruling:
21            1.       Any remaining parties agree to hold the Fed. R. Civ. P. 26(f) Conference within
22                     fourteen days after the Court has issued rulings on all of Defendants’ Motions to
23                     Dismiss the Amended Complaint;
24            2.       The deadline for Initial Disclosures shall be fourteen days after the parties’ Fed.
25                     R. Civ. P. 26(f) Conference; and
26

      STIPULATION AND ORDER TO MODIFY BRIEFING                                     Perkins Coie LLP
                                                                            1201 Third Avenue, Suite 4900
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      AND STAY PROCEEDINGS (NO. 2:20-CV-00680-DGE) – 6                            Phone: 206.359.8000
                                                                                   Fax: 206.359.9000
     156057310.1
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 1            3.       The parties shall file the Joint Status Report and Discovery Plan fourteen days

 2                     after the Initial Disclosures are served.

 3

 4            DATED this 8th day of March 2022.

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                                                              David G. Estudillo
 8                                                            United States District Judge
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      STIPULATION AND ORDER TO MODIFY BRIEFING                                   Perkins Coie LLP
                                                                          1201 Third Avenue, Suite 4900
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      AND STAY PROCEEDINGS (NO. 2:20-CV-00680-DGE) – 7                          Phone: 206.359.8000
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